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                  EXHIBIT 1
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Data collection: June 27-July 8, 2021

                                                    (UXR)
        Signals and Insights Platform
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To develop a holistic, consistent picture of user bad experiences on Instagram that
allows us to track our progress each half.

Holistic: TRIPS focuses on policy-violating experiences, but there are additional causes of bad
experiences on Instagram. By contrast, the BEEF Survey pulls issues from the Bad Experiences and
Encounters Framework, which sourced issues from all of our user input channels.

Consistent: We have many sources of valuable user data, such as individual UXR surveys and
interviews, FRX reports, flytrap, app store reviews, and social media listening. But, it’s hard to make
apples-to-apples comparisons between these data points, because of differences in how they’re
collected and weighted. The BEEF Survey asks a random sample of users the top 22 issues from
BEEF, so we can compare and contrast easily.

Track our progress: Without a control group, it’s impossible to determine causality from our other
signals. The BEEF Survey was fielded to both the well-being holdout and production groups.

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Date                 To do                                              Status
                                                                                                                                 What’s next?
April 12             Agree on which TRIPS questions to include          Complete
April 19             Use framework project results to generate          Complete                                                 The plan is to add findings to this deck and the Bad
                     proposal for additional survey constructs                                                                   Experiences Working Group as I go, with the goal of
                                                                                                                                 having a draft completed in the next two weeks. After
April 26             Develop survey questions/ look for questions       Complete                                                 that, I will focus on 1:1 and small group meetings with
                     from existing surveys                                                                                       various teams, to share the findings relevant to them.
May 3                Develop survey questions/ look for questions       Complete
                     from existing surveys                                                                                       As I engage in socialization of the findings, I will also
                                                                                                                                 begin a literature review of work done since the v1
May 10               Submit to research review                          Complete (June 3)                                        BEEF, to see if any new issues have emerged that
May 24 June 3        Submit to survey review                            Complete (June 9)                                        should be included in the next BEEF Survey (v2
                                                                                                                                 Framework, although it will be much more lightweight
May 31 June 10       Submit to translations                             Complete (June 29)                                       than the v1 effort).
June 14 June 30      Launch survey                                      Complete (June 30)
                                                                                                                                 I will use the current BEEF Survey and any new
June 21 July 6       Data cleaning                                      Complete                                                 insights gathered during the v2 Framework to begin
June 28 August 25    Data weighting/ appending                          Complete (August 25)                                     the survey development process for the v2 BEEF
                                                                                                                                 Survey.
July 19 August 26    Data cleaning                                      Complete (September 6)
July 26 September 7 Analysis/ reporting                                 In progress
October 4            Socialization
October 11           v2 Framework
October 18           Begin BEEF Survey v2 development
December 16          Launch BEEF Survey v2 (code freeze Dec 16-
                     Jan 4)
                                                                                                                                                                                             4
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   Questions that are also in TRIPS are highlighted in yellow. All questions had the same response options as TRIPS: ‘Yes, during
   the last 7 days,’ ‘Yes, but more than 7 days ago,’ and ‘No.’

False or misleading Have you ever seen anything on Instagram that was false or misleading?                       Unwanted advances                    Have you ever received unwanted sexual advances on Instagram?
Violence            Have you ever seen any violent, bloody, or disturbing images on Instagram                    Account security                     Have you ever been unable to access your Instagram account, either
                    that bothered you?                                                                                                                because of a lost password or because your account was hacked?
Hate (witness)      Have you ever seen anyone discriminating against people on Instagram
                                                                                                                 Civic content                        Have you ever felt that you have seen too many political posts on
                    because of their gender, religion, race, sexual orientation, or another part of
                                                                                                                                                      Instagram?
                    their identity?
                                                                                                                 Impersonation                        Have you ever found out that a Instagram account was pretending to be
Bullying (witness) Have you ever seen anyone do any of these things to someone else on
                                                                                                                                                      you?
                    Instagram?
                    -Insult or disrespect them                                                                   Self-harm                            Have you ever seen someone harm themselves, or threaten to do so, on
                    -Contact them in an inappropriate way                                                                                             Instagram?
                    -Damage their reputation                                                                     Spam/ fake account                   Have you ever been contacted on Instagram by an account that seemed
                    -Threaten them                                                                               contact                              fake?
                    -Exclude them or leave them out                                                              Over enforcement                     Have you ever felt that Instagram was wrong when it removed a post or
SRG drug sales      Have you ever seen anyone trying to buy or sell any of the following things                                                       video for violating the rules?
                    on Instagram?                                                                                Audience limitation                  Have you felt that not enough people see the things you share on
                    -Prescription drugs                                                                                                               Instagram?
                    -Illegal drugs
                                                                                                                 Usability, action                    Have you ever had difficulty posting a picture or video to Instagram?
Bullying (target)   Has anyone ever done any of these things to you on Instagram?
                    -Insulted or disrespected you                                                                Transparency                         Have you ever felt Instagram isn't transparent about why it removes posts
                    -Contacted you in an inappropriate way                                                                                            that are against the rules?
                    -Damaged your reputation                                                                     Usability, consumption Have you ever experienced the Instagram app freezing, crashing, or closing
                    -Threatened you                                                                                                     unexpectedly?
                    -Excluded you or left you out                                                                Data privacy                         Have you ever had concerns about the way Instagram might use data and
Nudity               Have you ever seen nudity or sexual images on Instagram that you didn't                                                          information about you?
                     want to see?                                                                                Perceived control                    Have you ever felt a lack of control over what you see on Instagram?
Negative Social      Have you ever felt worse about yourself because of other peoples’ posts on                  Commerciality                        Have you ever felt that you have seen too many ads on Instagram?
Comparison           Instagram?                                                                                                                                                                                               5
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All questions with response options can be found here.

 Question name        Question text                                                              Log data                                Name                               Table
                      In the last 7 days, where in Instagram did you see this?                   Country                                 country                            dim_ig_users:instagram
 Surface              Please select all that apply.
                                                                                                 App use                                 interface_l28: instagram_classic   dim_ig_users:instagram
                      In the last 7 days, how many times have you seen
 Frequency            something like this?                                                       Gender                                  gender                             dim_ig_users:instagram
                                                                                                 Followers                               followers                          dim_ig_users:instagram
                       Which specific emotions did you feel? Please select all
 Specific emotion felt that apply.
                                                                                                 Public or private account               is_private                         dim_ig_users:instagram
 Length of emotional                                                                             Feed posts                              feed_media_7d                      dim_ig_creators:instagram
 reaction            For how long after the experience did you feel this way?                    Reels posted                            reels_media_7d                     dim_ig_creators:instagram
                                                                                                 Stories posted                          story_media_7d                     dim_ig_creators:instagram
                      Thinking about this experience, did you feel supported by
 Perceived support    Instagram?
                                                                                                 Public media posted                     public_media_7d                    dim_ig_creators:instagram
 Action taken (both   Did you take any of the following actions as a result of
                                                                                                 Creator segmentation                    ig_creator_segment                 dim_ig_creators:instagram
 on and off app)      this experience? Select all that apply.
                      Did this experience stop or discourage you from posting                    iOS vs Android                          primary_interface                  dim_ig_user_primary_device:instagram
 Stops posting?       on Instagram?
                                                                                                 RAM                                     ram_class                          dim_ig_user_primary_device:instagram
 Known person,        What's your relationship with the account that posted
 online/offline       this?                                                                      Hi NAC views*                           viewer_high_nac_vpvs_l7            ig_user_social_comparison_metrics:instagram
 Age (13-15, 16-17,
                                                                                                 Overall views                           viewer_vpvs_w_prediction_l7        ig_user_social_comparison_metrics:instagram
 18…)                 What is your age?
                                                                                                 Sessions^                               num_sessions                       ig_user_app_session_counts:instagram

                                                                                                 time spent^             time_spent                      ig_user_app_session_counts:instagram
                                                                                                                         sum_meaningful_engagement_viewe ig_meaningful_engagement_user_agg:instagra
                                                                                                 meaningful impressions^ r_score                         m


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The sample size was calculated to detect a 1% absolute difference
between the two groups (production and holdout). Part of that
calculation is the baseline prevalence of each issue; past research
was used to provide those estimates. If an issue wasn’t actively
being worked on by a team in the IG Community Pillar in H1 2021,
then that issue was only asked in the production group.

Each respondent was asked about five issues (randomly chosen
from the set of 22). If they reported experiencing at least one of
the five issues, the survey system randomly chose one of the
issues they said yes to and asked a series of follow-up questions.
If they said they didn’t experience any of the five issues, they were
asked their age followed by a series of questions unrelated to this
report.




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1. Issue prevalence for holdout vs prod, and overall
2. Issue prevalence by subgroups
   a. Age
   b. Creators
   c. Gender
3. Add frequency, surface, and other context data to the issue prevalence tables
4. Additional cuts by subgroups
   a. RAM class/interface
   b. NAC (negative experience content) l7
   c. App use (number of sessions, time spent)
   d. Meaningful impressions
   e. Surface
5. Issue-specific analyses. 22 issues by 9 follow-up questions—I‘ll start with issues that our teams are
   actively working on, then go by prevalence
6. Grouping of issues. Analyze the ways individual issues cluster (or don’t) with each other. Assuming I find
   one or more commonalities between issues, I’ll use those to create rubrics to understand the full slate of
   issues users experience                                                                                      8
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Improvements in perceived violence and
usability action, but a decline in perceived
data privacy
The issues in the table to the right are ranked by the percentage of respondents
in the full dataset who selected “Yes, during the last 7 days.” Other response
options were “Yes, but more than 7 days ago” and “No.” Those responses are not
displayed here for space reasons. Production refers to respondents in the
production version of IG, while Holdout refers to respondents in the Community
Pillar holdout group in H1. If an IG team was not actively working on an issue in
H1, the survey question was only asked to the production condition.

Statistical tests for differences in column proportions between the production
and holdout groups were conducted, with and without a Bonferroni correction
for alpha error inflation (no difference in results).

There was a statistically significant improvement in perceptions of violence
(“Have you ever seen any violent, bloody, or disturbing images on Instagram that
bothered you?” and usability action (“Have you ever had difficulty posting a
picture or video to Instagram?”) between production and holdout.

There was also a statistically significant decline in perceptions of data privacy
(“Have you ever had concerns about the way Instagram might use data and
information about you?” between production and holdout.




                                                                                                                                                                               10
                                                                                                          An expanded table with 95% confidence intervals can be found here.
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Commerciality and political posts have the highest frequencies among respondents who
have experienced the issue, while fake accounts and impersonation have the lowest.

 If a respondent experienced an issue (i.e., responded “Yes, during
 the last 7 days”), they were then asked how often they experienced
 that issue. The percentage of respondents selecting each of the
 answer options is displayed in the table, along with the average
 frequency (first yellow column).. The issues (rows) are ranked by
 average frequency, with the most frequent issues on top.
 Commerciality and political posts have the highest frequencies,
 while impersonation and fake account contact have the lowest.

 The second yellow column is a rate x frequency composite score
 (the rate of an issue being experienced in the dataset, multiplied by
 the average frequency). Commerciality also has the highest score
 on this metric, followed by bullying witness; impersonation is the
 lowest.

 Finally, the last two columns rank the issues by issue rate
 (penultimate column) and issue x frequency composite (last
 column). Highlighted in blue are the issues with the biggest deltas:
 the largest is political posts, which ranks 12th by issue rate, but 7th
 by issue rate x frequency.




                                                                                     * In order to calculate the average, the frequency range selected by the respondent was converted into a single number: Once = 1, 2-3 = 2.5,
                                                                                     4-5 = 4.5, 6-9 = 7.5, and 10+ = 10.
                                                                                                                                                                                                                                    11
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DM/chat has the two highest rates of issues across surfaces: 73.1% of the time for fake
account contact, and 68.6% of the time for unwanted sexual advances.
                                                                         In the last 7 days, where in Instagram did you see this? Please select all that apply.
If a respondent experienced an issue, they were
asked where in Instagram it happened. The
question allowed for multiple responses, so the
rows will add up to more than 100%. Higher
numbers are shaded in darker reds, and the
highest number per issue/row is in bold.

A few patterns are clear--first, some surfaces are
more likely to have issues occur than others, but
no app surfaces are immune to bad experiences.
Surface comparisons, however, should be taken
with a grain of salt--people spend more time on
some surfaces than others, so we’d expect
differences just because of that.

Second, specific issues happen more often on
specific surfaces. When respondents experienced
fake account contact in the last 7 days, they said
it occurred via DM/chat 73.1% of the time; the
next highest is someone’s profile, at 14.6%. By
contrast, when respondents reported seeing self
harm in the last 7 days, it was spread across
various surfaces: witnessed in post comments
12.6% of the time, and Feed/Stories 31.9% of the
time.
                                                                                                                                                                  12
                                                     An expanded table with 95% confidence intervals can be found here.
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Issues are largely caused by strangers, with negative social comparison (15.5%) and
bullying target (14.6%) having the highest rates of known instigators.

If respondents experienced an issue, they were then asked, “What's your
relationship with the account that posted this?” (This follow-up question
wasn’t asked for issues that wouldn’t make sense, like commerciality or
over-enforcement.)

The content labeled an issue by the respondent was usually posted by
someone they don’t know. 93.8% of unwanted sexual advances are
from people the respondent doesn’t know, the highest percentage of
the 12 issues; negative social comparison has the lowest, at 64.9%.

Conversely, the highest rates of issues instigated by someone the
respondent knows offline were negative comparison (15.5%) and
bullying target (14.6%). No other issue is above 10%. The lowest is
unwanted sexual advances, with only 2.1% from people the respondent
knows offline.




                                                                                             An expanded table with 95% confidence intervals can be found here.




                                                                                                                                                                  13
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Low response rates among creators prevent strong conclusions
In the table to the right, responses to the question “What's your relationship
with the account that posted this?” are split by creator status (the “I don’t
know them” response option is excluded for the sake of space). The rates of
knowing the antagonist offline is highlighted in blue.


Given the very low numbers of creators (especially aspiring+ creators) who
answered the known antagonist question, it’s not possible to make
confident statements about the relationship between creator status and
knowing the antagonist.


I also looked at the relationship between knowing the antagonist* and
number of followers/number of stories posted in the last seven days (not
official proxies for creator status, but they do correlate with creator status--
see the creator segmentation descriptives slide). There aren’t any
statistically significant correlations between follower count and knowing the
antagonist. There are, however, multiple significant correlations between L7
stories production and knowing the antagonist for bullying witness (r =
0.048), hate witness (r = 0.025), misinfo (r = 0.042), self harm (r = 0.12), and
negative social comparison (r = 0.046).




*for the purposes of the correlation analysis, the known antagonist variable was coded: 1 = I don’t                           An expanded table with confidence intervals can be found here.
                                                                                                                                                                                               14
know them, 2 = only online, and 3 = offline.
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Blocking or muting the account is the most frequent action taken as a result of an issue
experience, with closing Instagram as the second most frequent.

If a respondent reported experiencing an issue
in the last 7 days, they were asked if they took
any actions as a result. The table to the right
shows the percentage of people who reported
taking each action, with larger percentages
shaded in darker reds. Actions (columns) are
arranged from least to most frequently used.

Changing privacy settings is the least-used
action across issues, with one outlier, first-
person impersonation (29%). Talked to a
parent or close friend was the second least-
used action. Blocking or muting the account
was the most frequent action, followed by
closing Instagram.

Among issues, impersonation elicited the
most actions overall, followed by bullying
target and bullying witness.

                                                   An expanded table with confidence intervals can be found here.




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Respondents felt the least supported by Instagram when they were the target of bullying,
had difficulty posting, or felt Instagram took down content when it shouldn’t.

If a respondent reported experiencing an issue in the last 7 days, they were
asked if they took any actions as a result. The table to the right shows the
percentage of people who reported taking each action, with larger percentages
shaded in darker reds. Actions (columns) are arranged from least to most
frequently used.

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                                                                                                        An expanded table with confidence intervals can be found here.   16
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All issues cause some reduction in self-
reported creation behavior, with
impersonation hindering creation the
most.
If a respondent experienced an issue, they were asked if it stopped or
discouraged them from posting on Instagram. The table to the right shows the
percentage of respondents selecting each of response options; issues are
sorted by the percentage of respondents who selected ‘yes’ or ‘somewhat.’

First-person impersonation, usability action, and account security are the top
three, which makes sense; they all involve being physically unable to access or
use your account. Negative comparison is #4, followed by over enforcement
and audience limitation.

Contact by a fake account and unwanted advances are the issues that reduce
creation the least (it’s worth noting, however, that even the issue with the least
impact on creation, fake account contact, resulted in 22.6% of respondents
choosing ‘yes’ or ‘somewhat.’)




                                                                                                            An expanded table with confidence intervals can be found here.   17
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A little over half of respondents (51.6%) experienced at least one issue in the past 7
days

Each respondent was asked whether they’ve experienced any of five issues,
randomly selected out of a set of 22 issues. 51.6% of respondents said
they’ve experienced at least one issue. Within age groups, the percentage is
highest among those age 16-17 (57.3%), followed by 18-21 (55.7%), and 13-
15 (54.1%). The group with the lowest percentage of experiencing one or
more issue is age 45+, at 31.2%. (Note: Age was the last question asked, so
we only have age data for the 67.5% of respondents who completed the
survey.)




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The 13-15 age group has the highest rates for 8/22 issues, while the 45+ group has the
lowest rates of 21/22 issues
The table to the right shows the percentages of respondents who selected “Yes, during the
last 7 days” for each of the issues, split by self-reported age. The green cells represent the
lowest incidence for that issue across all age groups, and the red cells represent the
highest incidence. Numbers that share a numeric subscript are not statistically
significantly different from each other at p < 0.05. The full breakdown by all age groups is
on the next slide.


The 13-15 age group has the most red cells (8)--that is, they have the highest rates of
issue experience in 8 of the 22 issues, more than any other age group. By contrast, the
oldest age group (45+) has the most green cells (21)--they have the lowest rates of issue
experience in 10 of the 22 cells.




                                                                                                                                          An expanded table with confidence intervals can be found here.
                                                                                                                                                                                                           20
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Younger people report higher rates of every issue, with some issues felt more universally
than others
In general, the older the respondent, the less
likely they are to report experiencing any of the
22 issues measured. All red cells (the age
group with the highest rate of experiencing an
issue) are within the four youngest age groups.


The gap between the lowest and highest issue
rates vary by issue. Bullying witness, for
instance, has the widest delta: 31.1% of the 22-
26 age group report experiencing it, compared
to only 10.6% of the 45+ group, a delta of 20.5
percentage points. Other large deltas include
usability passive (delta = 20 points), hate
witness (19.5), and misinfo (17.5).


By contrast, certain issues are experienced at
similar rates regardless of age. For example,
drug sales (delta = 2.1), account security (3.9),
and usability action (4.6).
                                                    An expanded table with confidence intervals can be found here.

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Males and females experience issues at significantly different rates, and those patterns
remain consistent across age groups.
Pairs of green cells within each age group represent
statistically significant comparisons where females
experienced the issues at higher rates than males. For
example, in the 13-15 age group, 27.4% of females
experienced negative comparison in the last 7 days,
compared to only 14.6% of males.


Pairs of yellow cells within each age group represent
statistically significant comparisons where males
experienced issues at higher rates than females. For
example, 14.4% of males in the 13-15 age group
reported being the target of bullying in the last 7 days,
compared to 8.6% of females.


Interestingly, when an issue is experienced differently
by males and females, that difference tends to hold
across age groups. The only exception is data privacy
concerns, where males report higher rates in the 13-15
and 16-17 age groups, but females report higher rates
                                                            *Gender is measured with log data. 37.3% of the sample was labeled male, 35.1% female, 27.2% unknown, and 0.5% custom. Unknown and custom were excluded from this analysis.
from age 27 and up.
                                                             An expanded table with confidence intervals can be found here.

                                                                                                                                                                                                                                      22
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Females respondents are more likely than males to know the antagonist offline when the
target of bullying, but less likely to know the antagonist offline when witnessing bullying.
The percentage of females responding that they know the antagonist offline/
in real life for bullying target is 17.4%, versus 11.8% for males. This
difference is statistically significant, measured via a 2x2 chi square test (the
‘I know them, but only online’ and ‘I don’t know them’ response options were
combined for this analysis).


Interestingly, the pattern is reversed for bullying witness. The percentage of
females responding that they know the antagonist offline/ in real life for
bullying witness is 5.5%, versus 7.2% for males. This difference is also
statistically significant.


These two patterns are particularly pronounced in the 13-15 age group
(bottom table), although the pattern is found in most age groups. Because of
small sample sizes when cutting by age, though, separate statistical tests
were not run for those subsets.




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5.41% of survey respondents are classified as creators, based on ig_creator_segment.


Because there are too few emerging (n=51) and
established (n=9) respondents in the dataset to analyze
those categories separately, they were combined with
aspiring (n=698) respondents into an ‘aspiring+’ group
for further analyses. The former pre-experimenting
category was added to the not creator category.




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Most issues are experienced more often by larger creators, but the gap varies by issue
In this table, issues are ranked by the issue rates of the aspiring+ creator
group (a combination of the aspiring, emerging, and established segments).
Red/green cells are the highest/lowest value in each row. 12 of the 22
issues are experienced most often by the aspiring+ group, while nearly all
(21 of 22) issues are experienced most often by either the large or
experimenting groups. By contrast, 21 of 22 issues are experienced the least
often by respondents without a creator status.


Similar to age, not all issues have large gaps in experience rates across
creator status. Not surprisingly, audience limitation (“Have you felt that not
enough people see the things you share on Instagram?”) is both the most
frequent issue for aspiring+ creators, as well as the issue with the largest
gap: 53.5% of aspiring+ creators experienced this issue in the past 7 days,
compared to only 25.7% of non-creators, a delta of 27.8 percentage points.
Bullying target has the second highest delta (18.3), followed by fake account
(15.9).


By contrast, issues such as drugs (1.2), account security (1.4), data privacy
(1.7), and violence (2.0) are experienced similarly regardless of creator
status.




                                                                                                                                                                                   26
                                                                                                                  An expanded table with confidence intervals can be found here.
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                                                                       Just copy and paste and
                                                                       change color or lines
                                                                       accordingly




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